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                 EXHIBIT B
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             SEDGWICK COUNTY DEPARTMENT OF CORRECTIONS
                       SUPE,RVTSION AGREEMENT
                    GANG CONDITIONS ATTACHMENT
         l.       I shall not associate rvith anyone affiliated rvith any gang.
         2.       I shall not knowingly associate with anyonc having a conviction lor the sale or
                  possession of drugs.
         3.       I shallnot knowingly be around any pcrson rvho is currently on pretrial
                  supcrvision, probation, and parole or has active crimiual case.
         4.       I shall not go to the fbllowing locations without pcrmission:
                                                                   "frip
                           Towne Ilast Mall, Wichita. KS; Quik           at 13'h and Olivcr, Wiclrita. KS;
                           'fowne Wcst Mall. Wichita, KS;           T'rip at 21" and Arkansas. Wichita,
                                                              Quik
                          KS;or:
         5.       I r.l,ill not attend any court hearing unless I am required b-v a judgc or altorney to
                  attend.
         6.       I u.,ill not wear any clothing with thc primarl'colors being RED.
         7.       I shall not acquire any lnore tattoos than I currentl,v havc.
         8.       I rvill have a curfcrv of 9:00 P.M. to 5:00 A.N,{. and I nrust be in my home during
                  these times unless permissiott is othcnvisc granted.
         9.       I shall not be around any school and/or school parking lot without obtaining prior
                  permission.
         10.      I shall not posscss any firearm^ anrmunition. or explosive devices including air or
                  paintball guns.
         I   1.   I shall not visit or have telephone conversations with any person who is in the jail
                  or other correctional facilities without perrnission.
         12.      I shall not ride in a care with rnorc tlran one (l) pcrson unless thosc peoplc are m)'
                  parents, siblings or my childrcn.
         I3.      I shall not engage in throwing or shou'ing gang hand signs.
         14,      I shallnot be in possession of any sharp instrunlcnts, bats, or anything that could
                  be consiclered a weapon.
_
-        l5       I shall not associate with family member or extendcd lamily rvho is a documented
                  gang mernber. (Exception w,ould be imrnediate tanrily onll', i.e. brother. sister
                  parents - NO cousins.)
         16.      I shall not share or post via an)'elcctronic mcans inclucling but not limited to tcxt
                  message, picture or video message. picturc or vidco message via cell phone,
                  public or social netrvorking rvebsites such as Faccbook, Myspace, Twitter or any
                  other internet use, statements having any rclationship to {specific Cang set} or
                  any gang whatsoever, nor shall I sharc or post via anv electroniq ntcans anY
                  photos or images that can in any wa1' be as.sociated rvith the {specifrc gang} or
                  any gang,
         17.      Other conditions:



I hereby acknowledge thal I have been inlormed and undcrstand tlrese addcd conditions ol'nry'
probation. I agree to cornply with these conditions until I receivc my final discharge fronr the
Court.
